            Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 1 of 12




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

LAUDENBACH PERIODONTICS AND                    :
DENTAL IMPLANTS, LTD                           :       CIVIL ACTION NO.
                   PLAINTIFF,                  :
     V.                                        :
                                               :
LIBERTY MUTUAL INSURANCE                       :
GROUP; LIBERTY MUTUAL INSURANCE                :
COMPANY; LIBERTY MUTUAL                        :
INSURANCE; AND                                 :
WEST AMERICAN INSURANCE                        :
COMPANY                                        :       COMPLAINT
                   DEFENDANTS.                 :       JURY TRIAL DEMANDED

       Plaintiff, Laudenbach Periodontics and Dental Implants, Ltd., by way of Complaint, brings

this action against Defendants, Liberty Mutual Insurance Group, Liberty Mutual Insurance

Company, Liberty Mutual Insurance, and West American Insurance Company, and alleges as

follows:

                                    NATURE OF THE CASE

       1.      This is a civil action seeking to declare Liberty Mutual’s denial of coverage violates

Pennsylvania public policy and constitutes a breach of contract.

       2.      On March 16, 2020, state and local authorities and dental associations issued orders

mandating Plaintiff to close its business in response to the Coronavirus pandemic.

       3.       Plaintiff had in place commercial insurance issued by Liberty Mutual Insurance

Company, and expected it would cover, among other damages, business income losses from

closure by a civil authority.

       4.        Defendant, on March 27, 2020, denied Plaintiff’s claim for business income /civil

authority coverage.

       5.      As a result, Plaintiff brings this action for declaratory and other relief.
            Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 2 of 12




                                        THE PARTIES

       6.      At all relevant times, Laudenbach Periodontics and Dental Implants, Ltd.

(hereinafter “Plaintiff” and/or “Laudenbach”), a Pennsylvania corporation, maintained a dental

office at 1520 Locust Street, Suite 600, Philadelphia, Pennsylvania 19102.

       7.      At all relevant times, Defendant, Liberty Mutual Insurance Group, a Massachusetts

corporation, maintained a principal place of business at 175 Berkeley Street, Boston,

Massachusetts 02116.

       8.      At all relevant times, Defendant, Liberty Mutual Insurance Company, a

Massachusetts corporation, maintained a principal place of business at 175 Berkeley Street,

Boston, Massachusetts 02116.

       9.      At all relevant times, Defendant, Liberty Mutual Insurance, a Massachusetts

corporation, maintained a principal place of business at 175 Berkeley Street, Boston,

Massachusetts 02116.

       10.     At all relevant times, Defendant, West American Insurance Company, a

Massachusetts corporation and subsidiary of Liberty Mutual, maintained a principal place of

business at 175 Berkeley Street, Boston, Massachusetts 02116.

       11.     Liberty Mutual Insurance Group, Liberty Mutual Insurance Company, Liberty

Mutual Insurance, and West American Insurance Company are collectively referred to herein as

“Defendant” and/or “Liberty Mutual”.

       12.     At all relevant times, Liberty Mutual regularly conducted business in the

Commonwealth of Pennsylvania and the City of Philadelphia.




                                                                                              2
          Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 3 of 12




                                         JURISDICTION

       13.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332 because complete diversity of citizenship exists between Plaintiff and Defendant and the

amount in controversy is greater than $75,000.

       14.     Plaintiff is a citizen of Pennsylvania.

       15.     Each Defendant is a citizen of Massachusetts.

       16.     This Court has personal jurisdiction over Defendant because at all relevant times

Defendant engaged in substantial business activities in the Commonwealth of Pennsylvania, and

Defendant derived substantial revenue from such business in Pennsylvania.

       17.     Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§1391(b)(2) because a substantial portion of the acts which gave rise to this lawsuit occurred in

this District. Venue is also proper pursuant to 28 U.S.C. §1391(b)(3) because Defendant is subject

to this Court’s personal jurisdiction.

                                   FACTUAL BACKGROUND

   A. INSURANCE COVERAGE

       18.     Most businesses purchase all risk commercial insurance to protect against

catastrophic events such as the current pandemic and non-essential business closures mandated by

Civil Authority Orders

       19.     Coverage for such events is known as “business interruption coverage” and is

standard in most all-risk commercial property insurance policies.

       20.     On or about January 1, 2020, Laudenbach purchased insurance from Liberty

Mutual, policy number BZW569172845, expecting to be insured against losses, including, but not




                                                                                                3
            Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 4 of 12




limited to, business income losses at its periodontist practice located at 1520 Locust Street, Suite

600 in Philadelphia, Pennsylvania. The policy is attached as Exhibit 1.

          21.   Laudenbach purchased, among other coverages, business interruption coverage for

closure by Order of Civil Authority.

          22.   Laudenbach’s Liberty Mutual Policy included standard ISO forms used by Liberty

Mutual for all insureds having applicable coverage.

          23.   Laudenbach did not participate in the drafting or negotiating of its Liberty Mutual

Policy.

          24.   Laudenbach possessed no leverage or bargaining power to alter or negotiate the

terms of the Liberty Mutual Policy.

          25.   Certain exclusions in the policy that contradict the civil authority coverage are not

enforceable as they violate Pennsylvania public policy as contracts of adhesion.

          26.   The Liberty Mutual Policy is an “all-risks” policy which provides coverage for the

Insured Premises unless specifically excluded.

          27.   The Liberty Mutual Policy provided that the insurance coverage applied to the

actual loss of business income sustained and the actual expenses incurred when access to the

Insured Premises is prohibited by order of civil authority as the result of a covered cause of loss to

property in the area of Plaintiff’s Insured Premises. This coverage is identified as “Civil

Authority.” Ex. 1, p. 9 of 61, Section I.A.5(i).

          28.   The reasonable expectation of the insured, Laudenbach, was that the business

interruption coverage included coverage when a civil authority forced closure of the business for

an issue of public safety in the immediate area surrounding the insured premises.




                                                                                                    4
          Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 5 of 12




       29.     The Liberty Mutual Policy does not exclude the losses suffered by Plaintiff,

Laudenbach, and thereby the Policy does provide coverage for the losses incurred by Plaintiff.

       30.     Defendant, by letter dated March 27, 2020, denied Plaintiff’s claim for business

losses as follows:

       “In an effort to alert you to the basis of the denial of coverage, we list below the grounds
       under which all aspects of the claim are not covered under the policy. It is our intent to
       incorporate by reference all of the terms of the policy through this denial of coverage
       letter. Based upon the information available to date, the grounds for the denial of
       coverage under the policy, or under applicable law, with respect to the claim, include,
       but are not limited to, the following:

       The policy provides Business Income coverage when there is a suspension of your
       operations at the described premises and results from a covered cause of loss. The order
       that was issued by the Pennsylvania Dental Association to discontinue dental procedures
       was to prevent the exposure of COVID-19 and is not related to any direct physical
       damage to the business personal property or the building. The Civil Authority
       Additional Coverage is only applicable when access to the described premises is
       prohibited when there is direct physical damage to other property, not on the described
       premises, from a covered loss. The order to discontinue routine dental procedures was
       not due to physical loss or damage nor did it prohibit access to the described premises.
       It was issued to limit the spread of Coronavirus (COVID-19). The policy specifically
       excludes losses caused by or resulting from a virus and from contamination.

       Based on the above we find no coverage under the terms and conditions of your policy
       for the costs claimed in connection with your asserted claim and therefore deny your
       claim. In view of the absence of coverage, we make no comment relative to the amount
       of loss or damage but include those issues within the rights reserved.”
       The letter is attached as Exhibit 2.

       31.     Plaintiff suffered direct physical loss or damage within the definition of the Policy.

Loss of use of property, as here, constitutes physical loss or damage.

       32.     The virus and bacterium exclusion does not apply because Plaintiff’s losses were

not directly caused by a virus, bacterium or other microorganism. Instead, Plaintiff’s losses were

caused by the civil authority orders issued by Governor Wolf, the Pennsylvania Department of

Health and the City of Philadelphia to mitigate the spread of COVID-19 in the future.




                                                                                                      5
            Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 6 of 12




    B. CORONAVIRUS PANDEMIC

        33.     COVID-19 is a highly contagious airborne virus which rapidly spread across the

world, including the United States.

        34.     COVID-19 was declared a pandemic by the World Health Organization on January

20, 2020.

        35.     COVID-19 is a public health crisis that profoundly affected all aspects of society,

including the ability of the public to congregate and gather.

        36.     The Center for Disease Control, on March 16, 2020, issued guidance that gatherings

of more than ten (10) people should not occur due to increased risk of contracting the virus.

        37.     The COVID-19 virus remains stable and transmittable in aerosols for up to three

hours, up to four hours on copper, up to 24 hours on cardboard and up to two to three days on

plastic and stainless steel.1

    C. CIVIL AUTHORITY ORDERS

        38.     On March 6, 2020, Governor Wolf issued a Proclamation of Disaster Emergency

as a result of COVID-19. Order attached as Exhibit 3.

        39.     On March 16, 2020, the City of Philadelphia announced the closure of all non-

essential businesses, including Plaintiff’s periodontist practice. Order attached as Exhibit 4.

        40.     On March 19, 2020, Governor Wolf issued an Order requiring all non-life

sustaining businesses in the Commonwealth to cease operations and close all physical locations.

Businesses that were permitted to remain open were required to follow “social distancing practices




1
  See, https://www.nih.gov/news-events/news-releases/new-coronavirus-stable-hours-surfaces; See also,
who.int/news-room/commentaries/detail/modes-of-transmission-of-virus-causing-covid-19-implications-
for-ipc-precaution-recommendations.

                                                                                                   6
             Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 7 of 12




and other mitigation measures defined by the Centers for Disease Control.” Order attached as

Exhibit 5.

       41.      On March 22, 2020, Philadelphia Mayor Jim Kenney issued an Emergency Order

Temporarily Prohibiting Operation of Non-Essential Business and Congregation of Persons to

Prevent the Spread of 2019 Novel Coronavirus, ordering the closure of all businesses except those

previously listed by Governor Wolf as Life-Sustaining Businesses. Order attached as Exhibit 6.

       42.      On March 22, 2020, the Pennsylvania Department of Health issued a mandate that

dentists and oral surgeons could not stay open unless they used negative pressure rooms and N95

masks – equipment that periodontists like Laudenbach do not have.

       43.      On March 23, 2020, Governor Wolf issued a Stay-at-Home Order for residents of

Philadelphia, Allegheny, Bucks, Chester, Delaware, Monroe and Montgomery Counties. Order

attached as Exhibit 7.

       44.      On March 26, 2020, the Pennsylvania Department of Health amended its mandate,

permitting only emergency dental procedures to occur in the absence of negative pressure rooms

and N95 masks. Order attached as Exhibit 8.

       45.      On April 1, 2020, Governor Wolf extended the Stay-At-Home Order to the entire

Commonwealth of Pennsylvania. Order attached as Exhibit 9.

       46.      These Orders, as they related to the closure of all “non-life-threatening businesses”

evidence awareness on the part of both state and local governments that COVID-19 causes damage

vis-à-vis contamination to property. This is particularly true in dental practices.

   E. IMPACT ON LAUDENBACH PERIODONTICS AND DENTAL IMPLANTS

       47.      As a result of these Orders, Plaintiff closed its periodontist practice on March 16,

2020, and Plaintiff’s business remains closed.



                                                                                                   7
             Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 8 of 12




           48.   As a periodontist practice, Plaintiff operates in a close environment where patients,

staff and doctors are directly next to each other, and are using tools, instruments and surfaces which

must be free from contaminants.

           49.   Dental and periodontist procedures produce saliva particles which aerosolize,

meaning they can become fine and hang in the air for extended periods of time.

           50.   Plaintiff’s practice is highly susceptible to contamination and damage.

           51.   Plaintiff’s practice is highly susceptible to rapid person-to-person and person-to-

property contamination as the virus is carried into the premises from the surrounding area and

other contaminated, damaged premises.

           52.   Given the nature of Plaintiff’s business, Plaintiff and its Insured Premises were

physically impacted by the probability of COVID19 contamination and Civil Authority mitigation

efforts.

           53.   As a result of the civil authority orders, Laudenbach suffered business income, civil

authority and other related losses which are covered by the Liberty Mutual Policy.

           54.   Plaintiff specifically sought and paid premiums to Liberty Mutual for coverage to

ensure the survival of the business due to the business closure ordered by the civil authority.

           55.   It was Plaintiff’s reasonable expectation that if civil authorities forced closure of

Plaintiff’s business, the loss of income from such civil authority action would be covered under

the policy.

           56.   As a result of the orders, Plaintiff incurred, and continues to incur, a substantial loss

of business income and additional expenses covered under the Liberty Mutual Policy.




                                                                                                        8
          Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 9 of 12




                                           COUNT I
                                      DECLARATORY RELIEF

       57.      Plaintiff incorporates by reference each paragraph of this Complaint as if fully set

forth herein.

       58.      Pursuant to 28 U.S.C. §2201, a court may “declare the rights and legal relations of

any interested party seeking such declaration, whether or not further relief is or could be sought.”

See also, 42 Pa.C.S. §7531 et. seq. (A court may “declare the rights, status, and legal relations

whether or not further relief is or could be claimed.”)

       59.      Declaratory relief is intended to minimize “the danger of avoidable loss and

unnecessary accrual of damages.” 10B Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,

Federal Practice and Procedure § 2751 (3d ed. 1998).

       60.      Plaintiff requests a Declaratory Judgment to affirm that the Liberty Mutual Policy

provides business income coverage because of losses attributable to civil authority actions, and

because the denial violates public policy.

       61.      Plaintiff requests a Declaratory Judgment that Liberty Mutual’s Exclusion of Loss

Due to Virus or Bacteria does not apply to the business income losses incurred by Plaintiff.

       62.      Plaintiff requests a Declaratory Judgment that Liberty Mutual’s denial of coverage

for losses caused by the referenced civil authority orders is a violation of public policy.

       63.      An actual controversy exists between Plaintiff and the Defendant because Liberty

Mutual denied Plaintiff’s business loss and business income and civil authority claims.

       64.      Plaintiff’s interest in the Liberty Mutual Policy and declaratory relief is direct,

substantial, quantifiable, and immediate.

       65.      Declaratory Judgement is appropriate in the manner requested herein by Plaintiff.




                                                                                                  9
           Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 10 of 12




                                        COUNT II
                         BREACH OF CONTRACT - COMPENSATORY RELIEF

          66.   Plaintiff incorporates by reference each paragraph of this Complaint as if fully set

forth herein.

          67.   At all times relevant hereto, Laudenbach was an insured under the Liberty Mutual

Policy.

          68.   Laudenbach purchased, elected and paid premiums to Defendant for the property,

business income and extra expense, civil authority and additional coverages applicable to the

losses claimed in this action between the period of January 1, 2020 and January 21, 2021.

          69.   All the information regarding the insured’s business and risks thereof was known

to the Defendant when the Policy was issued.

          70.   Plaintiff is entitled to recover all losses caused by COVID-19 and/or civil authority

orders.

          71.   Defendant was advised of Plaintiff’s claims and demand for coverage under the

Liberty Mutual Policy.

          72.   Plaintiff complied with all requirements of the Policy.

          73.   Defendant is duty bound and obligated under the Liberty Mutual Policy to make

fair and reasonable efforts and offers to resolve Plaintiff’s claim.

          74.   Defendant breached the terms and provisions of the Liberty Mutual Policy by

denying the claims of Plaintiff for all losses caused by COVID-19 and the civil authority orders.

          75.   The breach of the indemnification obligations under the Liberty Mutual Policy by

Defendant has caused Plaintiff to suffer loss and harm.




                                                                                                  10
         Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 11 of 12




       76.     Defendant is required to pay Plaintiff all covered losses caused by COVID-19 and

civil authority orders including business income, extra expense, contamination civil authority and

other coverages under the Liberty Mutual Policy.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff herein prays for a declaration for each of the following:

   A. For a declaration that:

       1.      The civil authority orders prohibit access to Plaintiff’s Insured Premises.

       2.      The civil authority order “prohibits access” as defined in the Liberty Mutual
               Policy.

       3.      The Liberty Mutual Policy civil authority coverage applies to Plaintiff due
               to physical loss or damage at the insured premises or other premises in the
               immediate area of the Insured Premises.

       4.      The Plaintiff is entitled to coverage for business income loss caused by the
               referenced orders.

       5.      The Liberty Mutual’s Exclusion of Loss Due to Virus or Bacteria does not
               apply to Plaintiff’s business income losses.

       6.      The inability to use the insured premises are a physical loss or damage as
               defined in the policy.

       7.      Liberty Mutual’s denial of coverage for losses caused by the referenced civil
               authority orders violates public policy.


   B. For an Order requiring Defendant to pay Plaintiff all covered losses caused by loss
      of access to the Insured Premises including business income, extra expense,
      contamination, civil authority and other coverages under the Liberty Mutual Policy.


   C. Such other relief as the Court deems appropriate.




                                                                                               11
        Case 2:20-cv-02029-TJS Document 1 Filed 04/27/20 Page 12 of 12




TRIAL BY JURY IS DEMANDED

                                    Respectfully submitted,




                        BY:         ________________________
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                                    James R. Ronca, Esquire
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                                                                         12
